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                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

SHERMAN HARRIS,                          :
individually and on behalf of all        :
others similarly situated,               :
                                         :
      Plaintiff,                         :            Civil Action File No.
                                         :            1:16-CV-00995-WSD
vs.                                      :
                                         :
STATEWIDE WRECKER                        :
SERVICE SOUTH, INC. and                  :
RONNIE C. FAUST,                         :
                                         :
      Defendants.                        :

                   JOINT MOTION FOR REVIEW AND APPROVAL
                   OF SETTLEMENT AND RELEASE AGREEMENT

      Plaintiff Sherman Harris and Defendants Statewide Wrecker Service Inc., and

Ronnie C. Faust move this Court to review and approve their Settlement Agreement and

Release and in support thereof, show the Court as follows:

                                             1.

      This is an FLSA case. Plaintiff filed his Complaint [Dkt. 1] on March 28, 2016,

alleging violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §201, et seq.

                                             2.

      The Parties, acting at arms-length, in good faith and with the advice of counsel have

negotiated and entered into a Settlement Agreement and Release (“The Agreement”).
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                                           3.

   A copy of the Agreement is attached hereto as Exhibit “A”.

                                           4.

   Pursuant to Lynn’s Food Stores, Inc. v. United States of Am., 679 F.2d 1350, 1353

(11th Cir. 1982), judicial approval is required to give effect to Plaintiff’s release of his

FLSA claims, which is material to the Agreement.

                                           5.

   In determining whether the Agreement is fair and reasonable, the Court should

consider the following factors:

      (1) the existence of collusion behind the settlement;

      (2) the complexity, expense, and likely duration of the litigation;

      (3) the stage of the proceedings and the amount of discovery completed;

      (4) the probability of plaintiff's success on the merits;

      (5) the range of possible recovery; and

      (6) the opinions of counsel.

   See Leverso v. South Trust Bank of Ala. Nat. Assoc., 18 F. 3d 1527, 1531 n. 6 (11th

Cir. 1994); Hamilton v. Frito-Lay, Inc., No. 6:05-cv-1592-Orl-22JGG, 2007 U.S. Dist.

LEXIS 10287, at *2-3, (M.D. Fla. 2007). There is a strong presumption in favor of

finding a settlement to be fair. Edwards v. CFR Sales & Marketing, 2011 U.S. Dist.

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Lexis 134705)(citing Cotton v. Hinton, 559 F. 2d 1326, 1331 (5th Cir. 1977)).

                                          6.

   The amounts of backpay and liquidated damages in the settlement is equivalent to

one hundred percent (100%) of the amount Plaintiff would receive if he was successful

on all claims at trial.

                                          7.

   The undersigned counsel submit that the Agreement is reasonable in both terms and

amounts.

                                          8.

   Plaintiff elected to accept the amounts set forth in the Agreement in full settlement of

his claims against Defendants.

                                          9.

   The amount of attorneys’ fees and costs set forth in the Agreement represents legal

work that was necessary to the prosecution of this case at rates previously approved for

Plaintiff’s counsel in FLSA cases in this District. The amounts include a contractually

set payment of 25% of the non-wage income portions paid to Plaintiff in consideration

of counsel’s agreement to advance reasonable costs and based on differing standards for

the award of non-wage income damages under the FLSA.




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                                           10.

   Once the Court approves the Agreement, and all Payments are made, the Parties will

file a Stipulation of Dismissal of this case with prejudice.

                                           11.

   The parties request that the Court retain jurisdiction over this matter and incorporate

the Agreement into its Order granting this Motion.

                                           12.

   Pursuant to LR 7.1, NDGa, the below signatory attorneys certify that this motion was

prepared with Times New Roman (14 point), one of the fonts and point selections

approved by the Court in LR 5.1 C, NDGa.

   WHEREFORE, the Parties respectfully request that this Court review and approve

their Settlement Agreement and Release of Claims. For the Court’s convenience, a

proposed Order granting this Motion is attached hereto as Exhibit “B”.

      Respectfully submitted,




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DELONG CALDWELL BRIDGERS                GREENBERG TRAURIG, LLP
FITZPATRICK & BENJAMIN, LLC

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COUNSEL FOR PLAINTIFF                   COUNSEL FOR DEFENDANTS




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vs.                                     :
                                        :
STATEWIDE WRECKER                       :
SERVICE SOUTH, INC. and                 :
RONNIE C. FAUST,                        :
                                        :
      Defendants.                       :

                             CERTIFICATE OF SERVICE

   The undersigned counsel certifies that on the date shown on the Court’s time stamp
above, he filed the foregoing JOINT MOTION FOR REVIEW AND APPROVAL OF
SETTLEMENT AND RELEASE AGREEMENT using the CM/ECF system, which
will automatically send email notification of such filing to all attorneys of record in this
matter, including:
                          Natasha L. Wilson
                          David Long-Daniels
                          Sumaya S. Ellard
                          Mellori E. Lumpkin


                                        s/Kevin D. Fitzpatrick, Jr.
                                        Kevin D. Fitzpatrick, Jr.
                                        Ga. Bar No. 262375
                                        Counsel for Plaintiff




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